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JoumQ                               OLI 2ca
        1O                                                  October 3, 2022
   via ECF
                                                                    SO ORDERED
  Judge B. Clark, III, U.S.M.J.
  United States District Court District of New Jersey
                                     -
                                                                   —      s/James B. Clark
  Martin Luther King U.S. Court House Building                      ames B. Clark, U.S.M.J.
  50 Walnut Street
  Newark, New Jersey 07102
                                                                   Date:      /u
                                                                          /‘3 /2      —
                                                                                       c
             Re:         Palisades Capital Inc. v. Rene Muijrers, Iconv Spri, and Techie
                         Hosting, Inc.
                         Civil Action No. 21-cv-20054 (ES)
                          Status Conference October 5, 2022 @ 12:00 p.m.

  Dear Judge Clark:

 I am local counsel for the Plaintiff in the above case. We have an status conference
                                                                                           scheduled
 with Your Honor on Wednesday, October 5, 2022
                                                       @  12:00 p.m. I apolog ize to the Court and
 adversary counsel for the late notice, but just realized that October 5, 2022, is the
                                                                                        Jewish Yom
 Kippur holiday which I observe and will not be working at all that date. Pro hac
                                                                                       vice counsel
 Maria Isabel S. Guerrero, Esq., has informed me that she is not available to partici
                                                                                        pate in this
 conference call due to a scheduling conflict. I therefore respectfully request that
                                                                                      this conference
 be rescheduled.

 At the client’s request, Ijust filed Plaintiff’s Notice to Withdraw Plaintiff’s Motion
                                                                                        to
 Consolidate this case with 2:22-cv-04918 (ECF 45). I also have moved to withdraw
                                                                                           as local
 counsel in this case (ECF 44) and am about to file later today a motion to withdr
                                                                                         aw in case
 number 2:22-cv-04918.

                                                           Respectfully submitted,


                                                           Leslie A. Farber
 LAF

 cc:        Steven A. Karg, Esq. (via ECF sakarg(änorris-1aw.com)
            Maria Isabel Guerrero, Esq. (via email: mariaisabel.giieirero([dnyattyatlu
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